            Case 6:21-cv-00448-ADA Document 16 Filed 07/29/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

SCANNING TECHNOLOGIES                 §
INNOVATIONS, LLC,                     §
                                      §
      Plaintiff,                      §                      Case No: 6:21-cv-00448-ADA
                                      §
vs.                                   §                      PATENT CASE
                                      §
THUNDER DATA SYSTEMS, INC.,           §
                                      §
      Defendant.                      §
_____________________________________ §


       JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff Scanning Technologies Innovations, LLC, and Defendant Thunder Data Systems,

Inc., by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:

       1.       All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

all counter-claims asserted by the Defendant in this Action are dismissed without prejudice under

Fed. R. Civ. P. 41(a)(1)(A)(ii);

       2.       Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the parties.




JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE                             PAGE | 1
          Case 6:21-cv-00448-ADA Document 16 Filed 07/29/21 Page 2 of 3




Dated: July 29, 2021.                         Respectfully submitted,


                                              /s/Jay Johnson
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                                             ATTORNEYS FOR DEFENDANT

                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 29, 2021, I electronically filed the above document(s) with the
Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to all
registered counsel.

                                          Respectfully submitted,

                                          /s/Jay Johnson
                                          JAY JOHNSON



JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE                              PAGE | 2
        Case 6:21-cv-00448-ADA Document 16 Filed 07/29/21 Page 3 of 3




  SO ORDERED this _____ day of _______________, 2021.


                                      _______________________________________
                                      UNITED STATES DISTRICT JUDGE




JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE             PAGE | 3
